Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 1 of 18 PageID #: 520




                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                        CRIMINAL ACTION NO. 3:16-CR-00113-TBR

    UNITED STATES OF AMERICA,                                                                      Plaintiff,

    v.

    JAMAULE HOLLIS, et al.,                                                                    Defendants.

                           MEMORANDUM OPINION AND ORDER
            In 2016, a federal grand jury returned a fourteen count indictment against Jamaule

    Hollis and John G. Tomes for their alleged involvement in a drug trafficking conspiracy.1

    The indictment resulted from a joint investigation involving at least four separate law-

    enforcement agencies which, over the course of the investigation, obtained and executed

    six search warrants related to Tomes. Through two separate motions and a supplemental

    brief, Tomes seeks to exclude all evidence gathered during the execution of those search

    warrants. He mounts a multifaceted attack against the validity of the warrants, primarily

    arguing that none of the supporting affidavits established the probable cause required by

    the Warrant Clause of the Fourth Amendment. Ultimately, the Court finds no defect of

    constitutional importance with any of the searches at issue. Therefore, Tomes’s First

    Motion to Suppress, [R. 66], and Second Motion to Suppress, [R. 68], are DENIED.

                                                        I.

                                                        A.

            In 2016, a confidential source informed the Jeffersontown Police Department that

    Jamaule D. Hollis was actively trafficking large amounts of crystal methamphetamine in

            1
              More recently, a federal grand jury returned a superseding indictment, bringing Derrick Perkins,
    Jr. and Brittany Nicole Baker into the fold too, but that fact has no bearing on the disposition of John G.
    Tomes’s motions to suppress. [See R. 42 (Superseding Indictment).]


                                                        1
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 2 of 18 PageID #: 521




    Jefferson County, Kentucky. [R. 75-2 at 4 (Detective Presley’s Affidavit).] Following

    up on that tip, Detective Steven N. Presley of the Jeffersontown Police Department, along

    with officers from the Louisville Metro Police Department (LMPD) and agents from the

    U.S. Drug Enforcement Agency (DEA) and Bureau of Alcohol, Tobacco, Firearms and

    Explosives (ATF), began surveilling Hollis as part of a joint investigation. [Id. at 4–5.]

           While surveilling Hollis’s residence on August 17, officers saw a blue Ford

    Taurus registered to John Tomes arrive. [Id. at 5.] After a few minutes, the vehicle left

    and traveled to an apartment building located at 5202 Marty Lane in Louisville,

    Kentucky. [Id.] Detective Presley watched an individual, later identified as Tomes, enter

    the apartment building and return to the vehicle shortly thereafter. [Id.] Tomes then

    drove back to Hollis’s home, stayed for a brief period, and then left again. [Id.]

           Following that exchange, law-enforcement officers tailed Hollis as he left home

    and drove into downtown Louisville. [Id.] There, officers observed Hollis conduct

    several suspected drug transactions. [Id.] Shortly after witnessing the alleged sales,

    LMPD officers effectuated a traffic stop of Hollis’s vehicle, which had previously been

    reported stolen.    [Id.]   The LMPD officers located multiple ounces of crystal

    methamphetamine on Hollis’s person. [Id.]

           During an on-scene interview, Hollis gave a statement to Detective Presley and

    Special Agent Milton Galanos of the DEA. [Id. at 5–6.] In that statement, Hollis

    identified Tomes as the person whom supplied him earlier that same day with the crystal

    methamphetamine. [Id.] Hollis reported that Tomes used the apartment located at 5202

    Marty Lane as a “stash house” for illicit drugs, money, and firearms. [Id. at 6.] He had

    been to that apartment within the past twenty-four hours and saw multiple pounds of



                                                 2
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 3 of 18 PageID #: 522




    methamphetamine and heroin inside. [Id.] Armed with that information, Detective

    Presley ran Tomes’s name through law-enforcement databases and discovered that

    Tomes had been convicted for trafficking in narcotics before. [Id.]

           The next day, Detective Presley applied for a warrant to search the Marty Lane

    apartment in order to seize crystal methamphetamine

           and any other substances in violation of KRS 218A. The scope of the
           search should also include any items to cut, weigh, measure, or package
           such substances; any items used to protect, transport or conceal said
           substances; all monies, property, equipment, weapons, records, tax returns,
           photographs, records indicia of occupancy residency or ownership; any
           records detailing earnings, net worth or any evidence of money
           laundering; and, all items derived from the [sale], use, transfer, storage,
           shipping, [or] handling, of such illegal controlled substance . . . .

    [R. 75-2 at 1 (Search and Seizure Warrant).] A state court judge issued the warrant,

    which Detective Presley executed on August 18. [Id. at 2.] Among other things, law-

    enforcement officers seized a firearm, several pounds of methamphetamine, and a

    hydraulic press, which large-scale narcotics traffickers typically use to package

    significant quantities of narcotics. [R. 73-1 at 12–13, ¶ 5(c) (Special Agent Maniff’s

    Affidavit).] The officers also observed mail addressed and identification belonging to

    Tomes in the apartment. [Id. at 13, ¶ 5(d).]

           On September 7, a federal grand jury returned a fourteen count indictment against

    Hollis and Tomes, charging both with conspiracy to possess with intent to distribute large

    quantities of methamphetamine and heroin, along with firearm-related charges. [R. 11 at

    1–7 (Indictment).] Law-enforcement officers promptly arrested Hollis in Kentucky. [R.

    5 at 1 (Arrest Warrant Return).] Although Tomes was more difficult to apprehend,

    Special Agent Jonathan Maniff of the ATF, accompanied by additional agents, arrested

    him in California on September 20. [R. 73-1 at 14, ¶ 8.] When Tomes was taken into


                                                   3
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 4 of 18 PageID #: 523




    custody, federal agents recovered four cellphones and approximately $5,000 on his

    person. [Id.]

                                                B.

            Through conversations with Special Agent Ryan N. Molinari of the ATF, Special

    Agent Maniff learned about the large quantities of narcotics seized at the Marty Lane

    apartment in Kentucky. [Id. at 12–13, ¶ 5(c).] Special Agent Maniff became aware that

    two cellphone numbers associated with Tomes had been in contact with telephone

    numbers belonging to suspected narcotics traffickers. [Id., ¶ 5(b), (e).] Special Agent

    Maniff knew that drug traffickers frequently used multiple cellphones to communicate

    with customers and suppliers and to take photographs of drugs, cash, and firearms. [Id. at

    15–17, ¶ 10.] Based on that information, along with his training and experience, Special

    Agent Maniff applied for warrants to search Tomes’s four cellphones. [Id. at 10–11, ¶¶

    1–2.] The warrants sought to seize call log information, address book information, text

    messages, e-mail communications, audio and video recordings, and images

            relating to violations of 18 U.S.C. § 922(g)(1) (felon in possession of a
            firearm); 21 U.S.C. § 841(a)(1) (manufacture or distribution of a
            controlled substance, or possession with intent to manufacture, distribute,
            or dispense a controlled substance); 21 U.S.C. § 846 (conspiracy to
            manufacture, distribute, or dispense, or possess with intent to manufacture,
            distribute, or dispense a controlled substance) . . . .

    [Id. at 3–4, ¶ 1.]

            Magistrate Judge Patrick Walsh issued the four warrants on September 22. [See

    R. 73-1 at 1 (Search and Seizure Warrant); R. 73-2 at 1 (Search and Seizure Warrant); R.

    73-3 at 1 (Search and Seizure Warrant); R. 73-4 at 1 (Search and Seizure Warrant).]

    Upon execution, Special Agent Maniff discovered conversations in which Tomes

    coordinated the purchase of a firearm as well as suspected narcotics transactions. [R. 75-


                                                 4
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 5 of 18 PageID #: 524




    3 at 12, ¶ 12 (Special Agent Molinari’s Affidavit).] He relayed that information to

    Special Agent Molinari in Kentucky. [Id.]

                                                C.

           Meanwhile, a few days prior to Tomes’s arrest, Special Agent Molinari had

    identified, through law-enforcement databases, an apartment located at 9400 Deerfoot

    Trace in Prospect, Kentucky as an address possibly associated with Tomes. [Id. at 11, ¶

    11.] Special Agent Galanos obtained the lease for the apartment on September 21, which

    listed Yvonne Tomes, the mother of John G. Tomes, as the lessee. [Id.] The following

    week, Special Agent Molinari and Special Agent Galanos attempted to interview Mrs.

    Tomes at the residence twice, but no one came to the door. [Id. at 12, ¶ 13.] From

    outside the apartment, however, the agents saw a blue sedan matching the description of

    Tomes’s vehicle in the garage attached to the apartment. [Id.]

           In addition, the agents interviewed an unnamed source (the identity of whom

    Special Agent Molinari revealed to the magistrate judge) with reliable firsthand

    knowledge of activity in and around the Deerfoot Trace apartment. [Id. at 12–13, ¶ 13.]

    Sometime in mid-August, the unnamed source noticed a black male who matched

    Tomes’s description, along with an older black woman, at the apartment complex. [Id.]

    The woman identified the man as her son whom, ostensibly, was helping her move into

    the apartment. [Id.] The unnamed source had not seen the woman since that day. [Id. at

    13, ¶ 13.] Two weeks later, however, the unnamed source saw the black male moving

    things into the apartment from a blue sedan. [Id.] After speaking with the unnamed

    source, Special Agent Molinari inquired as to Mrs. Tomes’s current address. [Id., ¶ 14.]

    From those inquiries, he learned that her driver’s license listed Fishers, Indiana as her



                                                5
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 6 of 18 PageID #: 525




    current residence. [Id.] He applied for, and Magistrate Judge Colin Lindsay issued, a

    search warrant for the Deerfoot Trace apartment. [R. 75-3 at 1 (Search and Seizure

    Warrant).] The scope of the warrant was substantially similar to that issued for the Marty

    Lane apartment.

                                               II.

           “The Fourth Amendment protects ‘[t]he right of the people to be secure in their

    persons, houses, papers, and effects, against unreasonable searches and seizures.’”

    United States v. Carpenter, 819 F.3d 880, 886 (6th Cir. 2016) (quoting U.S. Const.

    amend. IV). If the Government flouts that constitutional command, a defendant may

    move, pursuant to Federal Rule of Criminal Procedure 12(b)(3)(C), to exclude the

    evidence gathered against him. United States v. Haygood, 549 F.3d 1049, 1053 (6th Cir.

    2008). It is well-settled that, in seeking suppression, “the burden of proof is upon the

    defendant” to show that the search or seizure violated “some constitutional or statutory

    right.” United States v. Rodriguez-Suazo, 346 F.3d 637, 643 (6th Cir. 2003) (quoting

    United States v. Feldman, 606 F.2d 673, 679 n.11 (6th Cir. 1979)). In resolving a motion

    to suppress, the evidence must be viewed in the light most favorable to the Government.

    United States v. Rose, 714 F.3d 362, 366 (6th Cir. 2013) (citing United States v.

    Beauchamp, 659 F.3d 560, 565 (6th Cir. 2011)).

                                               III.

           Through two separate motions and a supplemental brief, Tomes seeks to exclude

    all evidence gathered during the execution of the six search warrants described above.

    [See R. 66 (First Motion to Suppress); R. 68 (Second Motion to Suppress); R. 69

    (Supplemental Memorandum in Support of Second Motion to Suppress).] He mounts a



                                                6
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 7 of 18 PageID #: 526




    multifaceted attack against the validity of those warrants, primarily arguing that none of

    the supporting affidavits established the probable cause required by the Warrant Clause

    of the Fourth Amendment.       The Court will address each of his objections in turn.

    Ultimately, it finds no defect of constitutional importance with any of the searches at

    issue.

                                                 A.

             To begin, Tomes raises three issues surrounding the search of the Marty Lane

    apartment. First, he argues that the allegations in Detective Presley’s affidavit were

    insufficient to establish probable cause. [See R. 68 at 2–3.] Second, even if supported by

    probable cause, Tomes maintains that the warrant itself was so lacking in particularity as

    to amount to no warrant at all. [See R. 69 at 8–10.] Third, he claims that Detective

    Presley made “recklessly false statements” in his affidavit and, accordingly, demands a

    Franks hearing on that issue. [See R. 68 at 3.] Of those three arguments, the Court finds

    merit in none.

                                                 1.

             The Warrant Clause of the Fourth Amendment guarantees that “no [w]arrants

    shall issue, but upon probable cause, . . . and particularly describing the place to be

    searched, and . . . things to be seized.” U.S. Const. amend. IV. The test for probable

    cause is simply whether “there is a fair probability that [1] contraband or evidence of a

    crime [2] will be found in a particular place.” United States v. Grubbs, 547 U.S. 90, 95

    (2006) (quoting Illinois v. Gates, 462 U.S. 213, 238 (1983)). There must, in other words,

    be a “nexus” between the place to be searched and the evidence sought. United States v.

    Bass, 785 F.3d 1043, 1049 (6th Cir. 2015).



                                                 7
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 8 of 18 PageID #: 527




           The job of the judge “presented with a search warrant application is ‘simply to

    make a practical, common-sense decision whether, given all the circumstances set forth

    in the affidavit,’” both propositions ring true. United States v. Brown, 828 F.3d 375, 381

    (6th Cir. 2016) (alteration in original) (quoting Gates, 462 U.S. at 238). The duty of a

    reviewing court, in turn, is “to ensure that the [issuing judge] had a substantial basis for

    concluding that probable cause existed.” United States v. Carpenter, 360 F.3d 591, 594

    (6th Cir. 2004) (en banc) (quoting Gates, 462 U.S. at 238–39).             In making that

    determination, the reviewing court is limited to examining the information contained

    within “the four corners of the affidavit.” United States v. Berry, 565 F.3d 332, 338 (6th

    Cir. 2009) (citing United States v. Frazier, 423 F.3d 526, 531 (6th Cir. 2005)).

           Here, Detective Presley’s affidavit established a substantial basis for the state

    court judge to find probable cause to search the Marty Lane apartment. In detail, law-

    enforcement officers observed Tomes leave Hollis’s residence, make his way to the

    Marty Lane apartment, and then return to meet Hollis a short time later. [R. 75-2 at 5.]

    Following the rendezvous between Hollis and Tomes, LMPD officers arrested Hollis and

    discovered multiple ounces of crystal methamphetamine on his person. [Id. at 5–6.]

    During an on-scene interview, Hollis named Tomes as his supplier and described the

    Marty Lane apartment as a “stash house” for illicit drugs, money, and firearms. [Id.]

    Importantly, Hollis had been to that apartment within the past twenty-four hours and saw

    multiple pounds of methamphetamine and heroin inside. [Id. at 6.] Based on that

    information alone, Detective Presley’s affidavit gave the issuing judge a substantial basis

    to conclude that a search of the Marty Lane apartment might uncover evidence of

    wrongdoing. See United States v. Pelham, 801 F.2d 875, 878 (6th Cir. 1986) (“When a



                                                 8
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 9 of 18 PageID #: 528




    witness has seen evidence in a specific location in the immediate past, and is willing to be

    named in the affidavit, the ‘totality of the circumstances’ present a ‘substantial basis’ for

    conducting a search for that evidence.”).

                                                 2.

           Nonetheless, Tomes takes exception to the first search on a second ground. The

    way he sees things, the warrant itself failed to describe the things sought with

    particularity. [See R. 69 at 8–10, ¶¶ 21–25.] Tomes appears to take issue with the

    breadth of the language authorizing agents to search for and seize crystal

    methamphetamine

           and any other substances in violation of KRS 218A. The scope of the
           search should also include any items to cut, weigh, measure, or package
           such substances; any items used to protect, transport or conceal said
           substances; all monies, property, equipment, weapons, records, tax returns,
           photographs, records indicia of occupancy residency or ownership; any
           records detailing earnings, net worth or any evidence of money
           laundering; and, all items derived from the [sale], use, transfer, storage,
           shipping, [or] handling, of such illegal controlled substance . . . .

    [R. 75-2 at 1.] The laundry list of items, Tomes argues, left “limitless discretion” to the

    officers executing the warrant and, therefore, ran afoul of the Fourth Amendment. [R. 69

    at 9, ¶ 23.] The Court disagrees.

           As discussed earlier, the Warrant Clause of the Fourth Amendment mandates that

    a warrant must “particularly describ[e] . . . the persons or things to be seized.” U.S.

    Const. amend. IV. The chief (though not sole) purpose of the particularity requirement is

    “to prevent general searches by requiring a neutral judicial officer to cabin the scope of

    the search to those areas and items for which there exists probable cause that a crime has

    been committed.”     Baranski v. Fifteen Unknown Agents of the Bureau of Alcohol,

    Tobacco & Firearms, 452 F.3d 433, 441 (6th Cir. 2006) (en banc) (citing Stanford v.


                                                 9
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 10 of 18 PageID #: 529




     Texas, 379 U.S. 476, 481 (1965)). The degree of specificity required in a warrant varies

     depending on (1) what information is reasonably available to the authorities, United

     States v. Hanna, 661 F.3d 271, 286–87 (6th Cir. 2011), (2) the nature of the “crime

     involved,” as well as (3) the “types of items sought,” United States v. Richards, 659 F.3d

     527, 537 (6th Cir. 2011) (quoting United States v. Greene, 250 F.3d 471, 477 (6th Cir.

     2001)). See generally 2 Wayne R. LaFave, Search and Seizure: A Treatise on the Fourth

     Amendment § 4.6(a) (5th ed.), Westlaw (database updated Oct. 2016).

            Here, each of these factors goes to show that the scope of the authorized search

     and seizure was set out with particularity. First, consider the information available to law

     enforcement. As discussed above, the officers had probable cause to suspect that Tomes

     was trafficking in narcotics and had been convicted of drug trafficking (a felony) in the

     past. [R. 75-2 at 6.] The officers suspected, on good authority, that Tomes was using the

     Marty Lane apartment as a “stash house” for drugs, firearms, and cash. [Id. at 5–6.] Of

     course, those agents had no idea how Tomes stored, prepared, and packaged the drugs, or

     where and in what form he kept records of his transactions. See United States v. Lengen,

     245 F. App’x 426, 433 (6th Cir. 2007) (“Because of the very nature of contraband drugs

     and any drug-trafficking operation, a warrant cannot be expected to identify exactly the

     weights or quantities of controlled substances and paraphernalia that might be found in a

     private dwelling.”). “All the officers had to go on was the well-substantiated suspicion

     that there was drug trafficking afoot” involving Tomes’s home. United States v. Raglin,

     663 F. App’x 409, 412 (6th Cir. 2016). In circumstances such as these, there was not

     much more Detective Presley could have included than what he did: that the officers were

     looking for evidence of drug trafficking.



                                                 10
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 11 of 18 PageID #: 530




            Next, look at the nature of the crime involved. Drug trafficking is a crime that

     often generates the same distinctive evidence from case to case. United States v. Martin,

     920 F.2d 393, 399 n.7 (6th Cir. 1990) (listing, in way of example, “chemicals, money,

     firearms, records, ledgers, beepers, scales, telephone numbers, a variety of common

     household items and related narcotic paraphernalia”). Here, the warrant anchored the

     search to evidence of a particular crime, e.g., trafficking in methamphetamine. [R. 75-2

     at 1.] Viewed in context, therefore, the use of a seemingly generic list does not fall short

     of the Fourth Amendment’s demand for particularity. See United States v. Willoughby,

     742 F.3d 229, 233 (6th Cir. 2014) (holding that “broad list of items” was sufficiently

     particular where “a global modifier” limited the scope of the search “to a list of offenses

     for which there was probable cause to think [the defendant] had committed”); accord

     United States v. Reeves, 210 F.3d 1041, 1046–47 (9th Cir. 2000) (holding objected-to

     “catch-all phrases” in warrant were not overbroad when viewed “in the context of

     authorization for a search for ‘evidence of the possession, manufacture, and delivery of

     the controlled substance methamphetamine’”).

            Lastly, examine the types of things sought. Many of the items listed in the

     warrant (e.g., crystal methamphetamine, drug paraphernalia, and weapons) amount to

     nothing more than contraband and, as such, required no detailed description. See United

     States v. Campbell, 256 F.3d 381, 389 (6th Cir. 2001) (“If the purpose of the warrant is to

     seize illicit property or contraband, however, a general reference is permissible.”),

     abrogated on other grounds by Begay v. United States, 553 U.S. 137 (2008), as

     recognized in United States v. Evans, 378 F. App’x 485, 489 n.5 (6th Cir. 2010). See

     generally LaFave, supra, § 4.6(b). The remaining things, though perhaps not contraband,



                                                 11
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 12 of 18 PageID #: 531




     were at least instrumentalities or evidence of those crimes and, as discussed earlier, were

     described with as much particularity as possible prior to the search. See LaFave, supra, §

     4.6(d). All things told, the warrant “supplied enough information to ‘guide and control

     the agent’s judgment in selecting what to take.’” Willoughby, 742 F.3d at 233 (quoting

     Richards, 659 F.3d at 537). It is not objectionable on that basis.

                                                  3.

            Rounding out his challenge to the first search, Tomes maintains that Detective

     Presley made “recklessly false statements” in his affidavit about the information that

     Hollis supplied to the authorities. [See R. 68 at 3.] He demands a hearing, pursuant to

     Franks v. Delaware, 438 U.S. 154 (1978), to test the veracity of Detective Presley’s

     account. His arguments on that point, however, come up short.

            To merit a Franks hearing, the movant must make “a substantial preliminary

     showing” that (1) the affiant included a statement, either deliberately false or with

     reckless disregard for its truth, in the warrant affidavit, (2) without which there could be

     no finding of probable cause. United States v. Pirosko, 787 F.3d 358, 369 (6th Cir.), cert.

     denied, ––– U.S. ––––, 136 S. Ct. 518 (2015). Warrant affidavits “carry with them ‘a

     presumption of validity,’” and so the challenger’s attack “must be more than conclusory.”

     United States v. Stuart 507 F.3d 391, 396 (6th Cir. 2007) (quoting Franks, 438 U.S. at

     171). That is, he must point to specific false statements and then “accompany his

     allegations with an offer of proof,” usually in the form of supporting affidavits. United

     States v. Bennett, 905 F.2d 931, 934 (6th Cir. 1990).

            In this case, Tomes has not made any showing, let alone a strong showing, that

     Detective Presley included a false statement of some sort in the warrant affidavit. He has



                                                 12
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 13 of 18 PageID #: 532




     come forward with nothing more than a bare allegation that Detective Presley intended to

     mislead the issuing judge.       His allegation is bereft of any factual support.        In

     circumstances such as these, a Franks hearing is unwarranted. See United States v.

     Young, 847 F.3d 328, 349 (6th Cir. 2017).

                                                  B.

              Next, Tomes challenges the search of the four cellphones seized incident to his

     arrest. [See R. 66 at 4–8.] It is true that, as a general proposition, law-enforcement

     officers must obtain a warrant before searching the digital contents of a cellphone seized

     incident to arrest. Riley v. California, ––– U.S. ––––, ––––, 134 S. Ct. 2473, 2495

     (2014). In this case, Special Agent Maniff did just that, but Tomes takes exception.

     Tomes argues that the allegations in Special Agent Maniff’s affidavits fell short of

     establishing the required nexus between the things to be searched (the cellphones) and the

     evidence sought (information relating to his possession of firearms, involvement in

     narcotics trafficking, and conspiracy). [See R. 66 at 4–8.] On that point, Tomes is

     mistaken.

              Special Agent Maniff’s affidavit established a substantial basis for the magistrate

     judge to find that the four cellphones likely contained evidence of the criminal conduct at

     issue.   The affidavit described the investigation of Tomes, his criminal history, the

     resulting indictment against him, his subsequent arrest, and the contraband seized during

     the search of the “stash house” in Kentucky. [R. 73-1 at 11–14, ¶¶ 5–8.] Those findings

     pointed to Tomes’s probable involvement in narcotics trafficking on a large scale. [Id. at

     12–13, ¶ 5(c).] Special Agent Maniff opined, based on his training and experience, that

     drug traffickers often used cellphones to communicate with customers and suppliers, as



                                                  13
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 14 of 18 PageID #: 533




     well as to photograph narcotics and weapons, [id. at 15–17, ¶ 10], and that law-

     enforcement personnel could retrieve that stored information, [id. at 17–21, ¶ 11]. The

     affidavit went on to explain that Special Agent Molinari had linked at least two cellphone

     numbers associated with Tomes to telephone numbers belonging to other suspected

     narcotics traffickers. [Id. at 12–13, ¶ 5(b), (e).] With information of this sort, the

     affidavit contained sufficient detail to tie the four phones to Tomes’s alleged criminal

     conduct. Compare Bass, 785 F.3d at 1079 (finding evidentiary nexus between cellphone

     and charge of identity theft where defendant and his co-conspirators used cellphones to

     communicate and defendant had been using his cellphone immediately prior to arrest),

     and United States v. Gholston, 993 F.2d 704, 717–20 (E.D. Mich. 2014) (finding

     evidentiary nexus between cellphone and charge of robbery where investigation showed

     that multiple participants were involved), with United States v. Ramirez, 180 F. Supp. 3d

     491, 494–496 (W.D. Ky. 2016) (finding lack of evidentiary nexus between cellphone and

     charge of drug conspiracy where affidavit contained mere conclusory allegations and no

     reference to the fact of defendant’s indictment).

                                                 C.

            Finally, Tomes attacks the warrant to search the Deerfoot Trace apartment on two

     fronts. To start, Tomes argues that the allegations in Special Agent Molinari’s affidavit

     fail to show a nexus between the Deerfoot Trace apartment and any evidence of criminal

     activity. [See R. 68 at 3–7; R. 69 at 10–14, ¶¶ 26–35.] Next, he maintains, though in a

     somewhat conclusory fashion, that the “investigative information” in Special Agent

     Molinari’s affidavit was “stale.” [See R. 69 at 7, ¶ 19.] The Court finds neither point

     persuasive.



                                                 14
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 15 of 18 PageID #: 534




                                                  1.

            Though a close call, Special Agent Molinari’s affidavit established a substantial

     basis for the magistrate judge to find a nexus between the Deerfoot Trace apartment and

     evidence of criminal conduct.          Where law-enforcement officers independently

     corroborate the fact that someone is a known narcotics trafficker, there will generally be a

     sufficient nexus between his residence and evidence of that crime for purposes of the

     Fourth Amendment. United States v. Kenny, 505 F.3d 458, 461–62 (6th Cir. 2007);

     United States v. Miggins, 302 F.3d 384, 392–94 (6th Cir. 2002) (collecting cases); cf.

     United States v. McPhearson, 469 F.3d 518, 524–25 (6th Cir. 2006). In this case, Special

     Agent Molinari did just that.

            First, the independently-corroborated information in Special Agent Molinari’s

     affidavit permitted one to draw the reasonable inference that Tomes had been actively

     involved in narcotics trafficking. The affidavit described the investigation of Tomes, his

     criminal history, the resulting indictment against him, his subsequent arrest, the

     contraband seized during the search of the “stash house” on Marty Lane, as well as

     incriminating messages found during the search of his four cellphones. [R. 73-3 at 8–12,

     ¶¶ 6–12.]

            Second, the affidavit linked Tomes to the Deerfoot Trace apartment. Although

     the Deerfoot Trace apartment was leased in Yvonne Tomes’s name, there no indication

     that she actually resided there. [Id. at 12–13, ¶¶ 13–14.] Instead, most things pointed to

     Tomes use of the residence. During a knock-and-talk visit to the apartment, Special

     Agent Molinari and Special Agent Galanos saw a blue sedan matching the description of

     Tomes’s vehicle in the attached garage. [Id., ¶ 13.] Subsequently, the agents spoke with



                                                 15
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 16 of 18 PageID #: 535




     an unnamed source who described seeing a black male matching Tomes’s description,

     along with the blue sedan, at the apartment on prior occasions. [Id.]

             Third, based on his training and experience, Special Agent Molinari reasonably

     suspected that a search of the premises would turn up evidence of the charges against

     Tomes. Special Agent Molinari knew that drug traffickers commonly used secondary

     residences. [Id. at 6, ¶ 5(b).] In many cases, drug traffickers maintained those residences

     in the name of a third-party associated with them. [Id. at 6–7, ¶ 5(g).] Among other

     things, drug traffickers used these locations to store narcotics, firearms, and records,

     receipts, and ledgers. [Id. at 6–8, ¶ 5(b), (d)–(h), (l).]

             In sum, the totality of these circumstances established a sufficient nexus between

     the location to be searched and the things to be seized, and the magistrate judge had a

     substantial basis for concluding so. The warrant to search the Deerfoot Trace apartment

     is, therefore, not infirm on that basis.

                                                    2.

             Tomes disagrees. He argues, in a perfunctory fashion, that the “investigative

     information” in Special Agent Molinari’s affidavit was “stale.” [See R. 69 at 6–8, ¶¶ 15,

     18–19.]     Since Tomes has not identified precisely what information he finds

     objectionable, it is difficult to resolve that issue in detail. Having thoroughly reviewed

     the affidavit, however, the Court finds that Special Agent Molinari’s affidavit (discussed

     above) relied on “fresh,” as opposed to “stale,” information.

             It is well-established that stale information cannot be used “in a probable cause

     determination.” United States v. Frechette, 583 F.3d 374, 377 (6th Cir. 2009) (citing

     United States v. Spikes, 158 F.3d 913, 923 (6th Cir. 1998)). See generally LaFave, supra,



                                                    16
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 17 of 18 PageID #: 536




     § 3.7(a). The staleness inquiry “depends on the ‘inherent nature of the crime’” and the

     circumstances of the case. United States v. Abernathy, 843 F.3d 243, 250 (6th Cir. 2016)

     (quoting United States v. Henson, 848 F.2d 1374, 1382 (6th Cir. 1988)). To determine

     the expiration date of information, courts in this Circuit consider four factors:

            (1) the character of the crime (chance encounter in the night or
            regenerating conspiracy?), (2) the criminal (nomadic or entrenched?), (3)
            the thing to be seized (perishable and easily transferrable or of enduring
            utility to its holder?), and (4) the place to be searched (mere criminal
            forum or secure operational base?).

     United States v. Burney, 778 F.3d 536, 540 (6th Cir.) (quoting Frechette, 583 F.3d at

     378), cert. denied, ––– U.S. ––––, 135 S. Ct. 2877 (2015).

            In this case, none of those factors weigh in favor of finding the “investigative

     information” stale.     First, the crimes at issue—conspiracy, drug trafficking, and

     possession of a firearm—bear a closer resemblance to “a regenerating, enduring

     enterprise” than “to a ‘chance encounter in the night.’” Id. at 541. Second, the criminal

     under investigation—Tomes—displayed firm ties to the area. After all, a drug trafficking

     operation, by its very nature, relies on “an established network of distributors and

     customers,” and so is not akin to “the kind of nomadic or sporadic criminal enterprises

     likely to up-and-vanish under the cover of darkness.” Id. Tomes’s prior drug trafficking

     conviction in Kentucky underscores that fact. See United States v. Sinclair, 631 F. App’x

     344, 348 (6th Cir. 2015). Third, the evidence to be seized under the warrant included

     anything tending to show that the Deerfoot Trace apartment, like the Marty Lane

     apartment, was used as a stash house. “Unlike evidence of drug possession, evidence that

     a residence is being used as a stash house is unlikely to be consumed or to disappear,

     precisely because that evidence—scales, weapons, safes, bagging materials, and the

     like—is not readily consumable and is ‘of enduring utility to its holder.’” Burney, 778
                                                  17
Case 3:16-cr-00113-DJH-HBB Document 87 Filed 04/17/17 Page 18 of 18 PageID #: 537




     F.3d at 541. Fourth, the place to be searched in this case was Tomes’s residence, which

     is a “secure operational base.” United States v. Elbe, 774 F.3d 885, 891 (6th Cir. 2014).

     In sum, the information in the affidavit was not stale.

                                                 IV.

               IT IS HEREBY ORDERED that John G. Tomes, Jr.’s First Motion to Suppress,

     [R. 66], and Second Motion to Suppress, [R. 68], are DENIED.

               IT IS FURTHER ORDERED that the In-Person Evidentiary Hearing set for

     April 19, 2017 at 2:00 p.m. EST, [R. 86], is CANCELLED.

               IT IS FURTHER ORDERED a Telephonic Further Proceedings is SET for

     April 19, 2017 at 10:00 a.m. EST. The Court shall place the call to counsel.

               IT IS SO ORDERED.

     Date:   April 17, 2017


     cc:       Counsel of Record




                                                  18
